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AO 91 (Rev. I l/l   l) Criminal Complaint                               AUSA Andrew C.
                                            UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF ILLINOIS
                                                  EASTERN DMISION                        DEC   I 8 2017w
UNITED STATES OF AMERICA                                                               THOMASG.BRI'TON
                                                                                    CTERK U.S. DISIRIfi COURT
                                                           CASE NUMBER:
                               v.

SANCHEZ LACKLAND and                                               L? CR                 7'9'?
JERMOL MXON
                                                                           MATISTRATE JUDGE KIM
                                                CRIMINAL COMPLAINT

        I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
                                                     COT]NT ONE
On or about December 12,20L7, at Chicago, in the Northern District of Illinois, Eastern Division,
and elsewhere, defendant SANC}IEZ LACKLAND violated:
      Code Section                                       Offense Description
      Title 21, United States Code, Section knowingly                and intentionally attempting to
      846                                                possess with intent to distribute a controlled
                                                         substance, namely, a quantity of a mixture and
                                                         substance containing   adetectable amount of
                                                         butyryl fentanyl, a Schedule I Controlled
                                                         Substance and an analogue of N-phenyl-N-[1-(2-
                                                         phenylethyll4-piperidinyll propanamide,         a
                                                         Schedule II Controlled Substance



                                                     COI]I{T TWO
On or about December L2, 20L7, at Orland Park, in the Northern District of Illinois, Eastern
Division, and elsewhere, defendant JERMOL MIXON violated:
      Code Section                                       Offense Description
      Title 21, United States Code, Section              knowingly and intentionally possessing with
      8a1(a)(1)                                          intent to distribute a controlled substance,
                                                         namely, a quantity of a mixture and substance
                                                         containing a detectable amount of butyryl
                                                         fentanyl, a Schedule I Controlled Substance and
                                                         an analogue of N-phenyl-N- [1-(2-phenylethyl)-4-
                                                         piperidinylJ propanamide, a Schedule II
                                                         Controlled Substance
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    This criminal complaint is based upon these facts:
     X    Continued on the attached sheet.

                                                     MARKWASUNK
                                                     Special Agent, Homeland Security Investigations
                                                     ffiSD

Sworn to before me and signed in my presence.

Date: December 13.2017


City and state: Chicago. Illinois
                                                                 Printed name-and Tiile
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                     Ar'FIDAVIT
       I, MARK WASUNYK, being duly sworn, state as follows:

       1.      I am a Special Agent with Homeland Security Investigations,       and have

been so employed for approximately eight years. My current responsibilities include

the investigation of narcotics trafficking offenses.

      2.      As part ofmy duties as Homeland Security Investigations Special Agent,

I investigate criminal violations relating to narcotics trafficking   offenses, including

criminal violations of the Federal Controlled Substance laws, including, but not

limited to Title 18, United States Code, Sections 1956, and 1957, and Title 21, United

States Code, Sections 84t, 843, 846, 848,952 and 963.      I   have been involved with

various electronic surveillance methods, the debriefrng of defendants, informants,

and witnesses, as well as others who have knowledge of the distribution,
transportation, storage and importation of controlled substances.        I   have received

training    in the area of narcotics investigations, money laundering,           financial

investigations and various methods which drug dealers use in an effort to conceal and

launder the proceeds of their illicit drug trafficking enterprises. I have participated

in numerous investigations involving violations of narcotics laws.

      3.      This affidavit is submitted in support of a criminal complaint alleging

that (a) SANCHEZ I"ACKLAND has violated Title 21, United States Code, Section

846 and (b) JERMOL MIXON has violated Title 21, United States Code, Section
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841(aX1). Because      this affidavit is being submitted for the limited purpose of
establishing probable cause        in support of complaints charging LACKI"AND with
attempted possession of a fentanyl analogue with intent to distribute, and MD(ON

with possession of a fentanyl analogue with intent to distribute, I have not included

each and every fact known to me concerning this investigation. I have set forth only

the facts that   I believe   are necessary to establish probable cause to believe that the

defendant committed the offense alleged in the complaint.

       4.    This affidavit is based on my personal knowledge, information provided

to me by other law enforcement agents, and information provided by other third

parties.

                    FACTS ESTABLISHING PROBABLE CAUSE

       5.    In    summary, HSI and the DEA have been investigating multiple

individuals in Chicago who have been importing fentanyl and fentanyl analogues

from China and Hong Kong into Chicago and then distributing these controlled

substances, as well as heroin and cocaine, in the Chicago area. The investigation has

shown that, on or about December L2, 2017, one of the members of this group,

LACKLAND, attempted to obtain a package that contained approximately 538 grams

of cyclohexyl fentanyl, a fentanyl analogue and a portion of which also contained

butyryl fentanyl, which is another fentanyl analogue. This investigation has also

shown that, on the same day and within hours of LACKLAND delivering a bag to

MIXON's residence, MIXON was found in possession of approximately 520 grams of

a mixture of cyclohexyl fentanyl and      butyryl fentanyl.



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      Agents Intercept One Kilogram of Acryl Fentanyl                 (a   Fentanyl
      Analogue) Bn Route to Indiaidual A (February 2077)

      6.     According to records from U.S. Customs and Border Protection, on or

about February 27,2017 , a parcel was shipped from Hong Kong to Individual A. Law

enforcement intercepted this package on or about March 1,2017, and, pursuant to

border-search authority,   its contents were examined in a CBP laboratory. The
package was found to contain a substance weighing approximately 1,072 grams. CBP

officers performed a field test and found that the substance presumptively contained

acryl fentanyl-a powerful and lethal fentanyl analogue.

      In late-October 20L7, Indiaidual A Was Shipped Three Pachages from
      China

      7.     In late-October 20L7, Individual A was shipped three packages from
China on the same day. According to records from U.S. Custom and Border

Protection, on or about October 20,20L7, three packages arrived in the United States

destined for Individual A. The packages were not seized or submitted for further

inspection (such as a canine sniff). They weighed 670 grams, 670 grams, and 520

grams, respectively. T\vo packages were declared        to   contain "SILICA GEL

DESICCANT" and one was declared to contain "POTASSIUM FORMATE." All three

packages came from Shenzhen, China.

      8.    Based on my training and experience, and on the investigation to   date-
including the seizure of a package destined for Individual A that contained a large

quantity of a fentanyl analogue-I believe one or more of these packages actually




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contained a quantity of a controlled substances, just as the February 20L7 package

had.

       Someone using a deaiee utithin the LACKLAI,ID Residenee reeently
       tracked the progress of shipments containing fentanyl and fentanyl
       analogues

       9.      According to records kept by the United States Postal Service ("USPS"),

on or about November 16, 20t7 a USPS parcel bearing tracking                    number

84289721523HK ("Subject Parcel 1") entered the United States from Hong Kong,

China. The Subject Parcel was sent via priority mail, with the ability to track the

parcel through the tracking number. Subject Parcel L was destined for an address in

Markham, Illinois, that-according to Secretary of State records-LACKLAND had

previously listed on his driver's license. Pursuant to border search authority, on

November L9,20L7, Subject Parcel L underwent inspection at the International Mail

Branch at O'Hare International Airport in Chicago, Illinois. Subject Parcel 1 was

found to contain approximately 517 grams of a white powder-like substance split

amongst two bags. A U.S. Customs and Border Protection ("CBP") officer used the

Thermo Scientific Gemini Analyzer to field test the contents. The powder in Bag #1

was presumptively identified as containing a combination of Cyclohexyl Fentanyl and

Butyryl Fentanyl (258 grams). Cyclohexyl Fentanyl is an opioid analgesic ahd
analogue to fentanyl,    a Schedule II controlled substance. Butyryl Fentanyl is      a

Schedule    I controlled substance and also a fentanyl analogue. The powder in Bag #2

was presumptively identified as containing        a   combinations   of   Methoxyacetyl




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Fentanyl and Butyryl Fentanyl (259 grams), both of which are Schedule I controlled

substances and fentanyl analogues.l

       10.    Based on my training and experience, I know that individuals can track

packages being delivered by the United States Postal Service-including inbound

international packages-by visiting the USPS website and entering the associated

tracking numbers.     I   also know based on training and experience that the USPS

website makes a record of a website visitor's IP address, including when a website

visitor visits the website and tracks a package. According to USPS records, an

individual using the IP address 24.L.213.158 ("the LACKLAND Residence IP

Address") used the USPS website to track the shipping progress of Subject Parcel             1


on the 19th, 20th,   2lst, 22nd, 23rd, 24th, 28th, and 29th of November 20t7 , as well

as on the 1st, 2nd, 3rd, 4th, 5th, 6th, and 7th of December 2017.

       11.    According to records from Comcast dated December 6, 20L7, Comcast

assigned the LACKLAND Residence IP Address on June LO,2Ol7, to the account

bearing the Subscriber Name "SANCHEZ LACKI,AND" at the 18000 block of Kedzie

Avenue    in Hazel   Crest, Illinois (the "LACKLAND Residence").2 On or about

December 8, 20L7, surveillance observed a mailbox at the LACKLAND Residence


1 On or about December 4,20L7 , Magistrate Judge Jeffrey Cole issued a warrant authorizing
the search ofthe destination address upon the receipt ofSubject Parcel 1.
2 Comcast records state that the "Lease Expiration" for this IP address was November 30,
20L7. However, based on my training and experience, I know that Comcast often reassigns
IP addresses to the same account after a lease term expires. As a result, based on the tracking
information, the information from Comcast, and on my training and experience, I believe that
the IP address 24.L.2L3.L58 was reassigned to the LACKLAND Residence after it expired on
November 30, 2017, and that the tracking records dated after November 30, 20L7, are for
tracking conducted from the LACKLAND Residence.



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with two names, one of which was "Sanchez Lackland" and the other was a woman

who later identified herself to agents as LACKLAND's daughter's mother.

       12.    According to records kept by the United States Postal Service ("USPS"),

on or about November 16, 20t7 a USPS parcel bearing tracking                    number

8A28972L510HK ("Subject Parcel 2") entered the United States from Hong Kong,

China. Subject Parcel 2 was sent via priority mail, with the ability to track the parcel

through the tracking number. Pursuant to border search authority, on November 21,

2017, Subject Parcel 2 underwent inspection at the International IVIail Branch at

O'Hare International Airport in Chicago, Illinois. Subject Parcel 2 was found to

contain a total of approximately 538 grams of a white powder-like substance

separated into two packages. A U.S. Customs and Border Protection ("CBP") officer

used the Thermo Scientific Gemini Analyzer to field test the contents. The powder

in both packages was presumptively identified as Cyclohexyl Fentanyl, an opioid
analgesic and analogue to fentanyl, a Schedule    II controlled substance.3 A portion of
the powder in one of the two packages was also found to contain Butyryl Fentanyl, a

Schedule   I controlled substance and fentanyl analogue.   According to USPS records,

an individual using the LACKI,AND Residence IP Address used the USPS website to

track the shipping progress of Subject Parcel 2 on the 18th, 19th, 2oth,2lst,24th,

28th,29th, and 30th of November 20L7, as well as on the 2nd, 3rd, 4th, 5th, 7th, and

Sth of December 2OL7.



3 On or about December 4,20L7, Magistrate Judge Jeffrey CoIe issued a warrant authorizing
the search of the destination address upon the receipt of Subject Parcel2.



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         13.   According to records kept by the United States Postal Service ("USPS"),

on or about November 16, 2OL7 a USPS parcel bearing tracking                    number

EM8972L506HK ("Subject Parcel 3") entered the United States from Hong Kong,

China. Subject Parcel 3 was sent via priority mail, with the ability to track the parcel

through the tracking number. Pursuant to border search authority, on November 29,

20L7, Subject Parcel 3 underwent inspection at the International Mail Branch at

O'Hare International Airport in Chicago, Illinois. Subject Parcel 3 was found to

contain approximately 526 grams of a white powder-like substance. A U.S. Customs

and Border Protection ("CBP") officer used the Thermo Scientifrc Gemini Analyzer to

field test the contents. The powder was presumptively identified as Cyclohexyl

Fentanyl, an opioid analgesic and analogue to fentanyl, a Schedule         II controlled
substance.a According      to USPS records, an individual using the LACKLAND
Residence    IP Address used the USPS website to track the shipping progress of

Subject Parcel 3 on the 18th, 19th,   20th,2tst,22nd, 24th,28th, 29th, and 30th of

November 20L7, as well as on the 1st, 2nd, Srd, 4th, 5th, 6th and 7th of December

20L7.

         14.   Based on my training, experience, and familiarity      with this   case   -
including LACKLAND's subsequent receipt and opening of Subject Parcel 2 (as

discussed below)    - I   believe that LACKI"AND was the individual tracking the

progress of Subject Parcels L,2, and 3 from the LACKLAND Residence, that he knew




a On or about December 4,20L7, Magistrate Judge Jeffrey Cole issued a warrant authorizing
the search ofthe destination address upon the receipt ofSubject Parcel 3.
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that the packages contained quantities of a fentanyl analogue, and that he intended

to participate in some manner in its manufacture and distribution.

       Betuteen Nooember 20, 2077, and December 1"0, 2077, the LACKLALT{D's
       Resid,ence u)as used to troah at least I other pa,ckages f-rom China or
       Hong Kong that contained fentanyl or a fentanyl analogue

          15.   According to records from the United States Postal Service and from

U.S. Customs and Border Protection, between on or about Novembe         r   20,2017,   ar-.'td,


December t0, 20L7, the I"ACKLAND Residence IP Address tracked the progress of

approximately 53 separate packages that were traveling from China or Hong Kong

to the United States, including the three seized packages containing fentanyl and

fentanyl analogues, discussed above. Furthermore:

                a.    Approximately 44 of those 53 packages were addressed to

approximately 19 different addresses in the Chicago area and none of those addresses

was the LACKI"AND Residence, yet all 44 of those packages have been tracked by

the LACKLAND Residence IP Address.s

                b.   As of December Lt,20L7, approximately 27 of these 53 packages

were   still in transit, approximately   14 were delivered, and approximately 12 were

intercepted by law enforcement (including the three packages discussed         in detail
above).

                c.    Of the   approximately     12 intercepted   packages     that    the

LACKLAND Residence IP Address tracked, approximately 11 packages (including



5The LACKLAND Residence was not a listed address of any of the 53 packages. Six packages
were sent to Peoria, Illinois. The intended address for 9 packages is not yet known.
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the three packages discussed in detail above) were found to contain fentanyl or

fentanyl analogues after field testing by law enforcement.

      LACKLAND is associated utith Ind.ioidual            A   utho is also actiue in
      fentanyl importation ond distribution
      16.    As discussed above, the investigation to date has shown that Individual

A is also involved with importing and distributing fentanyl and fentanyl analogues.

In addition to the packages containing fentanyl and fentanyl analogues      associated

with Individual A discussed   above:

             a.      According to records provided by a   pill press distributor, in   or

about February 2017-around the same time that law enforcement seized about one

kilogram of a fentanyl analogue addressed to him-Individual A ordered a pill press

from the company to communicate about the order with the company over the course

of several months.

             b.      According to a Currency Transaction Report filed on or about

November 9,2017, on or about November T,2OlT,Individual A used $20,000 in cash

at a kiosk located 400 E. 103rd Street, Chicago, Illinois, to purchase Bitcoin. The

Currency Transaction Report identifies Individual     A by his fuIl name, lists his
address, lists Individual A's social. security number, and lists his phone number

(Subject Phone 1). Based on my training and experience I know that, although Bitcoin

may be used for legitimate purposes, due to its high degree of anonymity and the ease

and speed with which funds can be moved electronically, Bitcoin has been used by

individuals and enterprises as a means to facilitate illicit transactions and launder

criminally derived proceeds. In addition, this transaction took place just about two


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weeks before the above-described influx of packages being sent from China and Hong

Kong. Based on my training and experience,            I believe Individual A bought   $20,000

worth of Bitcoin to use to buy the narcotics being shipped in these 53 packages.

           L7   .   According to records from the Illinois Secretary of State, on or about July

26,20L7, "LACKLAI.ID, SANCHEZ" and Individual A (the man associated with the

fentanyl and fentanyl analogue shipments discussed above and below) are the

registered managers of an entity named Certified Realtor Group LLC.

           18.      According to records from Ria Financial Services, on or about June 23,

20L7, LACKLAND initiated a $2,500 money transfer to a person                    in California.
During the money transfer process, LACKLAITD provided a phone number ending

 2807 ("Subject Phone        2") ashis telephone number. According to toll records for the

number ending 9313 ("Subject Phone L"), which is believed to be used by Individual

,4.,6   Subject Phone 1 (Individual A) and Subject Phone 2 (LACKLAND) were in contact

approximately 37 times between approximately December L, 2017 , and December 7,

2017. During approximately this same period of time, law enforcement personnel

were locating, testing, and seizing 11 of the 12 packages being tracked by the

LACKLAND Residence IP address, which packages were found to contain fentanyl

and fentanyl analogues. During the same period, the LACKLAND Residence IP

address was tracking these and others of the 53 packages discussed above.




6According to records from Sprint dated September 7, 2017, Individual A established the
account associated with on or about January LL,20L7.



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       19.   Based on my training, experience, and familiarity        with this case-
including the use of the LACKLAND Residence IP address to track packages

containing fentanyl and fentanyl analogues and the toll records-I believe that

during these calls, Individual A and LACKLAND had discussions regarding the

possession, manufacture, or distribution of fentanyl and fentanyl analogues.

      LACKLAND and Indiaidual A delioered               a bag thought to contain
      narcotics to MNON's Residence

      20.    On or about December    lt,z0t7, Magistrate   Judge Young B. Kim issued

a warrant to search the LACKLAND Residence for evidence, instrumentalities,

fruits, and contraband relating to federal narcotics violations.

      21.    On or about December t2, 20L7, at approximately 1:17 p.m., agents

observed a White Jaguar SUV ("Lackland Vehicle 1")         arive at the LACKLAND
Residence. Agents observed LACKI,AND exit the       SlfV-which was being driven by
Individual A.7 Agents observed LACKLAI\D carrying a duffel bag and enter the

LACKLAND Residence. Agents observed that the duffel bag LACKI"AND was

carrying was not full. A few minutes later, agents observed LACKLAND exit the

LACKLAND Residence carrS,ing the same duffel bag that, at that time, appeared

heavier and to require more effort by LACKLAND             to   carry. Agents observed

LACKI"AND place the bag in Lackland Vehicle A.

       22.   Based on my training, experience, and familiarity        with this   case   -
Including the aforementioned evidence of LACKLAND and Individual A's joint


7 Agents recognized LACKLAND and Individual      A based on governmental   photographs
(driver's license).



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association   with multiple        packages found       to contain fentanyl analogue;
LACKLAND's use of the LACKLAND residence to track those packages; and the later

discovery, described below, of heroin, narcotics proceeds, and a gun stored together

in LACKLAND's closet     - I believe that during this stop at LACKLAND's Residence,
Individual A and LACKLAND filled the not-filled bag that they brought to the

LACKLAIID Residence with narcotics (perhaps heroin laced with fentanyl analogue)

and departed the residence to distribute to one or more associates, including MIXON,

at a residence on the   1"6100 block of Hackney       Drive in Orland Park, Illinois ("the

MD(ON Residence").

       23. At about 1:23 p.m., Lackland Vehicle 1 departed the LACKL,AND
Residence and traveled to the location where Subject Parcel L had been destined.

Earlier in the day, agents left   a USPS note on   the door of this residence saying Subject

Parcel 1 could be retrieved at the local post office as of 3:30 p.m. Agents observed

Individual A drive himself and LACKLAND to this residence, where LACKLAND got

out and retrieved the door note. LACKLAND got'back in Lackland Vehicle            1.


       24.    Agents observed Lackland Vehicle            1 travel southbound on I-57,
eastbound on I-80, and exit northbound on LaGrange Road. Agents observed the

Lackland Vehicle 1 stop at Lifetime Fitness and         it   was observed doing several IJ-

turns. Air surveillance observed Lackland Vehicle 1 drive northbound on 97th

Avenue, southbound on 97th Avenue, and then southbound again on 97th Avenue

from 163rd Street. Based on my training and experience, I believe Individual A and




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LACKLAND were performing counter-surveillance measures to avoid detection by

law enforcement, because they were transporting narcotics at the time.

       25. At approximately    2:18 p.m., surveillance observed Lackland Vehicle      1


arrive at the MD(ON Residence. Surveillance observed LACKLAI.ID and Individual

A exit the vehicle. Surveillance observed Individual A carry the same duffel bag and

enter the door of the MD(ON Residence with I"ACKI"AND. Approximately 10 minutes

later, surveillance observed both men leave the MD(ON Residence and neither had

the duffel bag. Surveillance observed Lackland Vehicle 1 depart the area and head

back towards the location where LACKLAND had retrieved the door note. Agents

observed a younger female join LACKLAND and Individual A.

       26.   Based on my training, experience, and familiarity     with this   case   -
including the aforementioned evidence of LACKLAND and Individual A's joint

association with multiple packages found to contain fentanyl analogue; the later

discovery of heroin, narcotics proceeds, and a gun stored together in LACKLAND's

closet; and the short amount of time they spent at the MD(ON Residence, where they

left the duffle bag behind - I believe that Individual A and LACKLAND delivered a

quantity of narcotics/heroin laced with fentanyl to an associate at the MIXON

Residence.

       27.   According to pen-register records for Subject Phone 1, less than an hour

before Lackland and Individual A arrived at the MD(ON Residence, at approximately

1:26 p.m. and L:44 p.ffi., Individual A was   in contact with a phone number ending
8712   that is registered to Individual C. According to a database that, in my



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experience, analyzes numerous records from various data sources, including financial

and governmental institutions, to provide accurate identi$ring information regarding

individuals, Individual C's phone number is associated with a utility record (dated

approximately November 2Ol7) for the MD(ON Residence. In addition. sometime

after approximately 5:00 p.m., surveillance observed at the MIXON Residence a

Black BMW that is, according to Illinois Secretary of State records, registered to

Individual C. Based on my training and experience, and the investigation to date, I

believe that, during those phone calls, Individual A was making an'angements for

LACKTAND and Individual A to deliver narcotics or narcotics-related items to

MXON at the MD(ON Residence.

       28.   At approximately 3:24 p.m., agents observed Lackland Vehicle    1, which

contained LACKLAND, Individual A, and the younger female, drive to the area of

208 East 107th Street. Agents observed Individual A exit Lackland Vehicle 1, enter

a White Mercedes, and depart the area. Agents observed LACKLAND exit Lackland

Vehicle 1, get in its driver's seat, and depart the area.

       29.   Agents observed LACKLAND drive to the residence where Subject

Parcel 2 had been destined. Earlier in the day, agents had delivered Subject Parcel2

to this residence and an individual who came to the door accepted Subject Parcel 2,

which was equipped with a tracking device and trigger, and took it into the residence.

At approximately 3:32 p.m., agents    observed LACKLAND enter this residence, exit

shortly after carrying Subject Parcel 2, enter a Silver Camaro ("Lackland Vehicle 2"),

and then depart the area. Shortly thereafter, agents received a signal indicating the




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Subject Parcel 2 (which had previously been found to contain 538 grams of a

substance containing cyclohexyl fentanyl and,        in part, butyryl fentanyl) had been
opened. Agents stopped Lackland Vehicle         2, retieved    Subject Parcel 2 (which was

hidden under the driver's seat), and arrested I,ACKLAND.

        Agents ereeuted a search utarrant at the LACKLAIID Residence and.
        seized narcotics and narcotics-related items

        30.    At approximately   4:1-0   p.m., agents executed the search warrant on the

LACKLAND residence. In the main bedroom, agents observed a closet that was half

men's clothes and half women's clothes. On the side with men's clothes, agents found

a   firearm, approximately one kilogram of what is thought to be heroin, approximately

one kilogram of what is thought to be fentanyl (or a fentanyl analogue),8 and a

sizeable amount of cash (more than $100,000). Agents also found indicia that

LACKLAND lived there, including his wallet and mail addressed to him.

        An associate of LACKLAND and Indioid.ua,l A deliaered. bags to the
        MBON Residence

        31. At      approximately 7:52 p.ffi., agents observed           a Black Cadillac
(registration AJ71423) park at the MXON Residence. Agents observed a male

(thought to be MD(ON) remove between 3 to 5 garbage bags from the trunk of the

Black Cadillac. The first such bag appeared to be heavy. Based on my training and

experience, including the investigation to date,      I   believed the black bags contained




8 Agents used a scanning device on these substances that was not able to presumptively
identify the substances. But based on the agents'training and experience, they are believed
to be heroin and fentanyl (or a fentanyl analogue).



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narcotics or narcotics-related items, which may have been transported from other

locations following the arrest of LACKLAND.

          32.   According to public records, the Black Cadillac is registered to JERMOL

MfXON on the 400 block of East 95th Street, Chicago, Illinois. MD(ON is also listed

as a manager of the LLC described above (along     with LACKLAND and Individual A).

According to records from Western Union, on or about Novembe        r 6,20t7,   MD(ON

made a Western Union money transfer for $S0O to Individual D. According to records

from Western lJnion, Individual A previously transferred money to Individual D as

well.

          33. At approximately 9:00 p.m., a male (thought to be M[XON) drove the
Black Cadillac into the garage at the MIXON Residence

          34.   According to records from Ria Financial Services, on or about May 15,

20lT,Individual C transferred $2000 to MIXON.

         35.    According to pen register records, on December t2, 20lT,Individual A

was in communication with a phone registered to MIXON at approximately I-:35 p.m.

         Agents erecute   a,   search usarrant at the MIXON Residence

         36.    On or about December L2,}Oi.lT,MagistrateJudge Kim issued    awarrant

to search the MD(ON Residence. Agents             executed the warrant beginning at

approximately 11:10 p.m. When agents entered and traveled upstairs, they

encountered MIXON and Individual C lying prone on the floor. Within arm's reach of

MD(ON in a dog bed, agents found a loaded pistol that had been reported stolen,

according to a law enforcement database. MIXON was lying between the pistol and




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Individual C. Agents searched the master bedrooin and found a shot gun in the closet

and an AR-15 assault rifle underneath the bed.      In addition,   agents found another

handgun in a back pack in the closet near the ground-floor entrance. Individual C

claimed to own the gun in the back pack, the shotgun, and the AR-15, but not the

stolen pistol that was a few feet away from MD(ON.

         37.   Agents searched the MD(ON residence and found various controlled

substances. Specifically, in a Victoria's Secret bag in the basement, agents found what

field-tested presumptively positive for the presence of cocaine. Agents also found the

following substances (which were presumptively identified through offsite testing):

approximately l-,005 grams of cyclohexyl fentanyl; approximately 520 grams of a

mixture of cyclohexyl fentanyl and butyryl fentanyl (the same substances found in

Subject Parcel 2, which was earlier found         in   LACKI"AND's possession); and

approximately 511 grams cyclopropyl fentanyl, among other things.

         38. During the search, agents found approximately             $1O,0OO   in   U.S.

currency.

         39.   In the garage, agents found what is thought to be black tar heroin.

         40. Agents also located materials in the garage consistent with
manufacturing drugs, including boxes containing lactose, which-based on my

training and experience-I know is used as a cutting agent in the manufacturing of

drugs.

         41.   Also found in the garage were the previously-observed garbage bags.

They contained blenders with powder residue, drug presses, a scale with residue,




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baggies, T\rpperware containers, heat sealer and bags, screens, gloves. Based on my

training and experience, I know these tools are used to manufacture, package, and

sell narcotics.




                                      Special Agent
                                      Homeland Security Investigations




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